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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



In re:

SUMMIT VIEW, LLC,                                    Case No.: 8:19-bk-10111-MGW
                                                     Chapter 11
               Debtor.

___________________________________/


                        NOTICE OF APPEARANCE OF COUNSEL FOR
                      CREDITOR FLORIDA DESIGN CONSULTANTS, INC.

         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

         PLEASE TAKE NOTICE that the attorneys, Andy Dogali and Barbara U. Uberoi, of the

law offices of Dogali Law Group, P.A., respectfully files this Notice of Appearance as counsel of

record for creditor FLORIDA DESIGN CONSULTANTS, INC. and requests that copies of all

briefs, motions, orders, and other papers be electronically served as follows:

                                          Andy Dogali, Esq.
                                        Dogali Law Group, P.A.
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                                              DOGALI LAW GROUP, P.A.

                                                /s/ Barbara U. Uberoi
                                              Andy Dogali, Esq.
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                                              lfair@dogalilaw.com;

                                              Attorneys for Creditor Florida Design Consultants,
                                              Inc.


                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of March, 2020, I electronically filed the foregoing

Notice of Appearance of Counsel for Florida Design Consultants, Inc. with the Clerk of the Court

for the United States Bankruptcy Court, Central District of Florida, by using the CM/ECF system

thereby serving all registered uses in this case, and on March 28, by U.S. Mail to all parties on the

attached Local Rule 1007-2 Mailing Information Notice.

                                              /s/ Barbara U. Uberoi__________
                                              Barbara U. Uberoi, Esq.




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Mailing Information for Case 8:19-bk-10111-MGW
Electronic Mail Notice List
The following is the list of parties who are currently on the list to receive email notice/service for this case.

        Denise E Barnett denise.barnett@usdoj.gov
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Manual Notice List
The following is the list of parties who are not on the list to receive email notice/service for this case (who therefore
require manual noticing/service). You may wish to use your mouse to select and copy this list into your word
processing program in order to create notices or labels for these recipients.

        Bruce Erhardt
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        Florida Design Consultants
        20525 Amberfield Dr
        Suite 201
        Land O Lakes, FL 34638

        Donald E Hemke
        Carlton Fields, P.A.
        P.O. Box 3239
        Tampa, FL 33601-3239

Creditor List
Click the link above to produce a complete list of creditors only.

List of Creditors
Click on the link above to produce a list of all creditors and all parties in the case. User may sort in columns or raw
data format.

https://ecf.flmb.uscourts.gov/cgi-bin/MailList.pl?107687922270867-L_1_0-1                                                   1/1
